                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

TERRANCE THOMPSON,                                  )
                                                    )
              Plaintiff,                            )
                                                    )      No. 07 C 1130
              v.                                    )
                                                    )      Judge Guzman
CITY OF CHICAGO, et. al.,                           )
                                                    )
              Defendants.                           )

                   PLAINTIFF’S RULE 59 MOTION FOR A NEW TRIAL

       Now comes Plaintiff, TERRANCE THOMPSON, by his attorneys, moving this

Honorable Court for a new trial pursuant to Federal Rule of Civil Procedure 59.
                            TABLE OF CONTENTS

TABLE OF AUTHORITIES ………………………………………………………………… ii-iv

INTRODUCTION ………………………………………………………………………………. 1

I.     FACTUAL BACKGROUND …………………………………………………………… 1

       A.   Thompson’s Arrest ………………………………………………………………. 2

       B.   Thompson’s Conviction …………………………………………………………. 3

       C.   Thompson’s Conviction Vacated ………………………………………………... 3

       D.   Defendants’ Assert The Fifth Amendment ……………………………………… 4

II.    THE LEGAL STANDARD ……………………………………………………………... 4

III.   ARGUMENT ……………………………………………………………………………. 6

       A.   ALL EVIDENCE RELATING TO THE DUE PROCESS AND CONSPIRACY
            CLAIMS AGAINST DEFENDANTS McDERMOTT AND BURZINSKI WAS
            IMPROPERLY EXCLUDED …………………………………………………… 6

            1.   The Exclusion of All Evidence of Other Incidents of Misconduct By
                 Defendants McDermott and Burzinski Substantially Affected the Outcome
                 of the Claims Against These Officers …………………………………... 8

                 (a)   The Testimony of Former SOS Officer Villareal Regarding The
                       May 17, 2005 Incident Should Have Been Admitted …………… 8

                 (b)   The Testimony of Michael Temple That Defendant Burzinski
                       Planted A Gun On Him Should Have Been Admitted …………. 11

                 (c)   Testimony from Rafael Vergil About Burzinksi’s and
                       McDermott’s Involvement in Misconduct with Officer
                       Finnigan Should Have Been Admitted ………………………… 13

                 (d)   Testimony from Donald Wisneiewski About Burzinksi’s and
                       McDermott’s Involvement in Misconduct with SOS Officers
                       Suchocki, Finnigan, Rice and McGovern Should Have Been
                       Admitted ……………………………………………………….. 14

            2.   The Exclusion of the Evidence That Would Have Established the
                 Widespread Practices of the SOS Unit Generally ………………….…... 15



                                        ii
           (a)    The Excluded Evidence of the Testimony of SOS Officers Who
                  Participated in the Pattern of Misconduct ……………………… 15

           (b)    The Relevance of This Highly Probative Evidence Was Not
                  Outweighed By Its Probative Value …………………………… 17

           (c)    The Guilty Plea Testimony Regarding Stops of Citizens
                  Without Probable Cause Are Relevant to Establishing
                  the SOS Pattern of Misconduct ………………………………… 18

           (d)    The Guilty Plea Testimony Regarding Incidents of Stealing Are
                  Relevant to Establishing the SOS Pattern of Misconduct ……… 19

           (e)    The Post-2003 Incidents Are Relevant to Plaintiff’s
                  Due Process and Conspiracy Claims …………………………... 19

C.   DEFENSE COUNSEL’S IMPROPER QUESTIONING AND ARGUMENT
     SUBSTANTIALLY AND DETRIMENTALLY AFFECTED THE OUTCOME
     OF PLAINTIFF’S MALICIOUS PROSECUTION CLAIM ………………….. 21

     1.    The Reference To The Unexplained Indictments ……………………… 22

           (a)    The Court’s Rulings on the Indictments ….……………………. 22

           (b)    Defendants’ Violation of the Court’s Ruling …………………... 22

     2.    Defendants’ Improper Questioning And Argument Regarding “Indicative
           Of Innocence” ………………………………………………………….. 24

     3.    Defendants’ Improper Questioning Allowed Them To Make The
           Misleading Argument Suggesting That The Officers’ Assertions of The 5th
           Amendment and The Dismissal of the Criminal Charges Against Plaintiff
           Had Nothing To Do With Mr. Thompson ……………………………... 26

V.   The Admission of Plaintiff’s 11 Alias Names Was Unfairly Prejudicial and
     Should Not Have Been Allowed ……………………………………………….. 29

CONCLUSION ………………………………………………………………………… 32




                                  iii
                                              TABLE OF AUTHORITIES

Cases                                                                                                                           Page

Adams Lab., Inc. v. Jacobs Engineering Co., Inc., 761 F.2d 1218 (7th Cir. 1985) ....................... 22

Agushi v. Duerr, 196 F.3d 754 (7th Cir. 1999) ................................................................................ 5

Anderson v. Sternes, 243 F.3d 1049 (7th Cir. 2001)...................................................................... 31

Bordanaro v. McLeod, 871 F.2d 1151 (1st Cir.) ........................................................................... 19

Broam v. Bogan, 320 F.3d 1023 (9th Cir. 2003) ........................................................................... 20

Carter v. Hewitt, 617 F.2d 961 (3rd Cir. 1980) ....................................................................... 10, 31

Cotter v. McKinney, 309 F.2d 447 (7th Cir. 1962) ........................................................................ 25

Douglas v. Workman, 560 F.3d 1156 (10th Cir. 2009)............................................................ 12, 20

Fineman v. Armstrong World Industries, Inc., 980 F.2d 171 (3d Cir. 1992) ............................... 22

Garperini v. Center for Humanities, Inc., 518 U.S. 415 (1996) ..................................................... 5

Geitz v. Lindsey, 893 F.2d 148 (7th Cir. 1990) .............................................................................. 31

Grandstaff v. City of Borger, 767 F.2d 161 (5th Cir. 1985) .......................................................... 19

Hasham v. California State Bd. of Equalization, 200 F.3d 1035 (7th Cir. 2000) ........................ 5, 6

Hillard v. Hargraves, 197 F.R.D. 358 (N.D. Ill. 2000) ............................................................ 5, 26

In re High Fructose Corn Syrup Antitrust Litigation,
295 F.3d 651(7th Cir. 2003) ......................................................................................................... 29

Juneau Square Corp. v. First Wisc. Nat'l Bank, 624 F.2d 798 (7th Cir. 1980) ............................... 5

Kapelanski v. Johnson, 390 F.3d 525 (7th Cir. 2004) ..................................................................... 4

Leka v. Portuondo, 257 F.3d 89 (2nd Cir. 2001) ..................................................................... 12, 20

Llaguno v. Mingey, 763 F.2d 1560 (7th Cir. 1985) ....................................................................... 26

Long v. Cottrell, Inc., 265 F.3d 663 (8th Cir.2001) ...................................................................... 22


                                                                  iv
Martin Trigona v. Gouleta, 634 F.2d 354 (7th Cir. 1980) ............................................................ 29

Mayall v. Peabody Coal Co., 7F.3d 570 (7th Cir. 1993) ................................................................ 5

Schick v. Illinois Dept. of Human Services, 307 F.3d 605 (7th Cir. 2002) .................................. 4, 5

Smith v. Roberts, 115 F.3d 818, 820 (10th Cir. 1997) ...................................................... 12, 20, 21

Soltys v. Costello, 520 F.3d 737 7th Cir. 2008 ................................................................................ 5

Steidl v. Fermon, 494 F.3d 623 (7th Cir. 2007) ............................................................................. 20

Tennison v. City and County of San Francisco, 570 F.3d 1078 (9th Cir. 2009) ..................... 12, 20

United States v. Adames, 56 F.3d 737 (7th Cir. 1995)................................................................... 11

United States v. Apfelbaum, 445 U.S. 115 (1980) ........................................................................ 31

United States v. Finley, 708 F.Supp. 906 (N.D. Ill. 1989) ...................................................... 30-31

United States v. Peters, 791 F.2d 1270 (7th Cir. 1986) ................................................................. 10

United States v. Thompson, 359 F.3d 470 (7th Cir. 2004)............................................................. 10

United States v. Toma, 1995 WL 65031 (N.D. Ill. Feb. 13, 1995) ............................................... 30

United States v. Van Eyl, 468 F.3d 428 (7th Cir. 2006) ................................................................ 25

United States v. Williams, 81 F.3d 1434 (7th Cir. 1996) ........................................................... 5, 26

Statutes and Other Authority

Fed. R. Civ. Pro. 59 …………………………………………………………………………... 1, 4

Fed. R. Evid. 401…………………………………………………………………………….13, 14

Fed. R. Evid. 403 ………………………………………………………………………... 1, 10, 11

Fed. R. Evid. 608(b) ……………………………………………………………………………. 31

Wright & Miller, Federal Practice and Procedure: §2803 (1973 & Supp. 1979) ……………….. 6




                                                               v
                                        INTRODUCTION

       Evidentiary rulings pursuant to F.R.E. 403 made over the course of the trial ultimately

excluded all of the substantive evidence against Defendants McDermott and Burzinski and

thereby denied Plaintiff a fair trial on his claims against these two defendants. Additionally,

during the trial, defense counsel improperly questioned witnesses and made improper arguments

that put before the jury improper suggestions about Defendant Suchocki’s indictments and the

dismissal of the criminal charges against Terrance Thompson. This, in combination with the

excluded evidence, left the jury with the mistaken impression that Defendant Suchocki was a

lone “bad apple” and that Defendants McDermott and Burzinski were not also responsible for the

violation Plaintiff’s civil rights. Furthermore, Defendants’ counsel’s deliberate injection of

improper questions and argument so mangled the trial of Plaintiff’s malicious prosecution claim

that a new trial on this count should be ordered. Finally, evidence of plaintiff’s prior use of alias

names (which informed the jury of Thompson’s lengthy—and inadmissible—arrest history), as

well as other evidence was so prejudicial that is should not be allowed in the retrial of this case.

       Plaintiff therefore respectfully requests a new trial on the due process and corresponding

conspiracy and failure to intervene claims against Defendants McDermott and Bursinski, and

malicious prosecution claims against all the Defendants.

I.     Factual Background

       The jury found that Defendant Suchocki alone violated Plaintiff’s right to a fair trial by

withholding material exculpatory evidence. See Docket 372 (jury verdict form). The exculpatory

evidence presented to the jury concerned only some of Defendant Suchocki’s prior acts of

misconduct while he was a member of the Chicago Police Department’s Special Operations

Section (“SOS”). On the same count for a due process violation, the jury found in favor of



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Defendants McDermott and Burzinski. Id. Likewise, the jury found in favor of all Defendants on

Plaintiff’s conspiracy, failure to intervene and malicious prosecution claims. Id.

       A.      Thompson’s Arrest

       On September 21, 2002, Plaintiff Terrance Thompson was walking down a Chicago

street towards several drug dealers who were standing on a corner. Ex. E (Thompson trial

testimony) at 6-7. A Chicago police vehicle approached and the drug dealers fled the area. Id. at

7. Officers Suchocki and McDermott jumped out of the vehicle. Id. at 8. Officer McDermott

grabbed Mr. Thompson and questioned him about where the dealers had gone. Id. at 9.

       Meanwhile, Officer Suchocki searched the surrounding area and then walked down the

gangway. Id. at 9-10. When he returned, Officer Suchocki, holding a gun in his hand, stated

“look what I got here.” Id. at 10. Officer McDermott was standing with Thompson, whom he had

already searched, when Suchocki returned with the gun. Id. at 9-10.The two officers then

continued to demand that Mr. Thompson tell them where the drug dealers went and to “give him

a house” (meaning a drug house). Id. at 10-11. Mr. Thompson did not know where a drug house

was located. Id. at 11-12. He told the officers that he was there to purchase drugs and did not

know where the dealers had run to or where their house was located. Id. at 10-12.

       The officers arrested Mr. Thompson. Id. at 12-13. In their police vehicle and at the

station, the Defendants continued to question him about the location of the house and he

continued to answer that he did not know of a house. Id. at 13. At some point during the arrest,

SOS Officers Finnigan and Rice were present; these officers were listed as “victims” on the case

report. See Pl.’s Trial Ex. 4. The Defendants charged Mr. Thomspon with aggravated unlawful

use of a weapon. Ex. E at 15.




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        B.      Thompson’s Conviction

        In October 2003, Plaintiff was convicted after a jury trial of the charge of aggravated

unlawful use of a weapon. Id. at 17. The evidence against him at that trial was the testimony of

Defendants Suchocki and McDermott. Id. at 17; Ex. H (former Assistant Cook County State’s

Attorney Murray trial testimony) at 26. Mr. Thompson was sentenced to eight years of

incarceration. Ex. E at 18.

        C.      Thompson’s Conviction Vacated

        Three years later, in the fall of 2006, the Cook County State’s Attorney’s Office

uncovered misconduct within the Special Operations Section. Ex. H at 4, 24; Ex. F (trial

testimony of Cook County Assistant State’s Attorney Smitko) at 34-36. Around that time, as Mr.

Thompson sat in prison, he saw Carl Suchocki on the evening news. Ex. E at 21-22. Mr.

Thompson learned for the first time that Special Operations Sections officers, including officers

involved in his very arrest, had been engaged in misconduct. Id. at 17, 22.

        Thereafter, Mr. Thompson’s criminal defense attorneys filed a petition pursuant to

pursuant to Section 5/2-1401 of the Illinois Code of Procedure. Ex. F at 4. The purpose of a

Section 5/2/-1401 Petition is to raise facts that were not known to the petitioner or the court at

the time of trial that could have caused the court to render a different decision. Docket No. 378 at

3 (stipulated fact). On December 5, 2006, Assistant State’s Attorney Kurt Smitko appeared in

court to respond to the petition. Ex. F at 4. The State’s Attorneys’ Office had reviewed the

petition. Id. at 4-5; see also Ex. H at 26. The petition was based on the newly discovered

impeachment evidence. Ex. F at 15, 34-36.1 The State’s Attorney’s office did not oppose the


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           The facts set forth in the petition included that: (1) the Chicago Police Department became
concerned with the integrity of Officer Suchocki’s police work as early as 2002 and started an internal
investigation after numerous persons complained about the officer’s conduct; (2) that the State’s
Attorney’s Office and prosecutors were concerned that they could not sustain their burden of proof in

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petition. Ex. F at 5. The prosecution could not sustain its burden of proof because Carl Suchocki,

the main witness against Mr. Thomspon, was not a credible witness. Ex. H at 25-26. The court

vacated the conviction and dismissed the charges. Ex. F at 7; see also Pl.’s Tr. Ex. 2.

        D.      Defendants’ Assert The Fifth Amendment

        In discovery and at trial, Defendants Suchocki, McDermott and Burzinski invoked their

Fifth Amendment right to silence in response to all questions relating to: (1) the arrest and

prosecution of Terrance Thompson; (2) the existence of, involvement in, and knowledge of a

pattern of misconduct within the Special Operations Sections; and (3) their own involvement in

other incidents of false arrests and fabrication of evidence. Ex. D at 3-9, 13-15. It was also

stipulated that members of the Special Operations Sections, Officer Rice, Sgt. Eldridge and Lt.

Blake, also invoked the Fifth Amendment in response to questions regarding the pattern of

misconduct in the Special Operations Sections. Ex. D at 15-19.

II.     THE LEGAL STANDARD

        Pursuant to Federal Rule of Civil Procedure 59(a), a new trial may be granted “for any

reason for which a new trial has heretofore been granted in an action at law in federal court.”

Those reasons include where a verdict is against the weight of the evidence, the damages are

excessive, or for other reasons which made the trial not fair to the moving party. Kapelanski v.

Johnson, 390 F.3d 525, 530 (7th Cir. 2004).

        One such reason is where the evidentiary ruling created unfairness to the moving party.

Schick v. Illinois Dept. of Human Services, 307 F.3d 605, 611 (7th Cir. 2002). A new trial due to

an evidential ruling is appropriate where the admission or exclusion or admission of evidence

these cases concerning Suchocki; (3) the State’s Attorney’s Office adopted a policy of dropping cases in
which Suchocki had a significant role and made the arrest; (4) that the newly discovered evidence
discredits Officer Suchocki, (5) that there were concerns about Suchocki’s police work going back to as
early as 2002, and (6) there was no physical evidence connecting Mr. Thompson to crime charged and no
evidence corroborating the officers’ testimony against Mr. Thompson. Ex. F at 34-36.

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had “a substantial influence over the jury” and the result reached was “inconsistent with

substantial justice.” Id. (citing Agushi v. Duerr, 196 F.3d 754, 759 (7th Cir. 1999)). This standard

is met where there is a “significant” chance” that “evidentiary errors … affected the outcome of

the trial.” Schick, 307 F.3d at 611 (quoting Hasham v. California State Bd. of Equalization, 200

F.3d 1035, 1048 (7th Cir. 2000)).

        A new trial may also be appropriate where improper statements and argument by counsel

caused prejudice to the moving party. Soltys v. Costello, 520 F.3d 737, 744 (7th Cir. 2008). See

also Mayall v. Peabody Coal Co. 7 F.3d 570, 573 (7th Cir. 1993) (improper argument warrants a

new trial where they have “influenced the jury in such a way that substantial prejudice resulted to

the opposing party”) (citations omitted). The court may consider the cumulative impact of

improper questioning and argument during the course of the trial to determine whether there was

prejudice. Hillard v. Hargraves, 197 F.R.D. 358, 361 (N.D. Ill. 2000) (citing United States v.

Williams, 81 F.3d 1434 (7th Cir. 1996)).

        Where the trial result was affected by an improper argument or question, or an

evidentiary error, the court should use its authority to protect the right to a jury trial by granting a

new trial. “The exercise of a trial court’s power to set aside the jury’s verdict and grant a new

trial is not in derogation of the right of trial by jury but is one of the historic safeguards of that

right.” Garperini v. Center for Humanities, Inc., 518 U.S. 415, 433 (1996) (internal quotation

omitted). See also Juneau Square Corp. v. First Wisc. Nat'l Bank, 624 F.2d 798, 806 n.11 (7th

Cir. 1980) (“it is the [trial judge’s] right, and indeed his duty, to order a new trial if he deems it

in the interest of justice to do so”) (quoting Wright & Miller, Federal Practice and Procedure:

§2803 (1973 & Supp. 1979)).




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IV.        ARGUMENT

           A.     ALL EVIDENCE RELATING TO THE DUE PROCESS AND
                  CONSPIRACY CLAIMS AGAINST DEFENDANTS McDERMOTT AND
                  BURZINSKI WAS IMPROPERLY EXCLUDED

           The trial of plaintiff’s due process, conspiracy, and failure to intervene claims against

Defendants McDermott and Burzinski was made unfair by: (1) the exclusion of evidence

demonstrating the involvement of Defendants McDermott and Burzinski in particular incidents

of misconduct, (2) the exclusion of evidence demonstrating the wide scope of the pattern of

misconduct within the SOS unit, and (3) defense counsel improperly informing the jury that only

Suchocki had been indicted. The exclusion of all substantive evidence of the due process and

conspiracy claims against McDermott and Burzinski, substantially adversely affected the

outcome of the trial against these Defendants. See Hasham, 200 F.3d at 1048 (“evidentiary errors

satisfy this standard only if a significant chance exists that they affected the outcome of the

trial”).

           The only substantive evidence regarding other incidents of misconduct presented to the

jury (other than the Fifth Amendment assertions) was limited to the incidents involving

Defendant Suchocki. It therefore was not surprising that Plaintiff prevailed on his due process

claim only against Suchocki. Without substantive evidence regarding (1) the involvement of

Burzinski and McDermott in the SOS pattern of misconduct or (2) the widespread nature of the

misconduct within the officers’ unit, the jury could not have found that the other two Defendants

were directly involved in or knew of the ongoing misconduct in Plaintiff’s case.

           The jurors were instructed that in order to succeed on his due process claim Plaintiff had

to establish that a Defendant “deliberately withheld evidence that the officers who testified at

Plaintiff’s criminal trial engaged in a pattern of misconduct.” See Docket No. 378 (jury



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instructions) at 28. Thus, in order to establish this claim, Plaintiff had to put on evidence that

Defendant McDermott (who testified at the criminal trial) had in fact engaged in a pattern of

misconduct or knew of the pattern of misconduct by Officer Suchocki. As to Defendant

Burzinski, Plaintiff had to establish that he knew that officers Suchocki and McDermott had

engaged in a pattern of misconduct. To do this, Plaintiff offered evidence of (1) other incidents

in which the officers were involved in misconduct or witnessed misconduct by the other officers,

and (2) the widespread pattern of misconduct in the SOS unit generally. This evidence was

necessary to demonstrate Defendants McDermott and Burzinski’s knowledge of Suchocki’s

misconduct in order for plaintiff to prevail on all of his due process claims. Id. at 29.

       This same evidence was necessary for Plaintiff to prove his conspiracy and failure to

intervene claims against all Defendants. To establish his conspiracy claim, Plaintiff had to

prove—among other things—that the Defendants formed an agreement to deprive Plaintiff of his

right to due process. Id. at 30. Thus, the evidence of the officers’ direct involvement in the

pattern of misconduct and evidence demonstrating that the misconduct was rampant in the unit

(therefore known to members of the unit) was necessary to establish the claim.

       As this Court explained during the pre-trial conference, there were generally two ways

that Plaintiff could establish his constitutional claims. Ex. A at 63. The first was to put on

evidence of other incidents of misconduct by these officers through third party witnesses who

had been victims of the misconduct. Id. The second was to put on testimony of the SOS officers

who took part in the pattern of misconduct. Id. Both kinds of evidence were offered against

Defendants McDermott and Burzinski, and both kinds of evidence were excluded. Without that

evidence, it was impossible for Plaintiff to prevail against McDermott and Burzinski.




                                                  7
                1.      The Exclusion of All Evidence of Other Incidents of Misconduct By
                        Defendants McDermott and Burzinski Substantially Affected the
                        Outcome of the Claims Against These Officers.

        All evidence of Defendants McDermott and Burzinski’s involvement in the pattern of

SOS misconduct was excluded. This evidence, set forth in turn below, included (1) the

testimony of former-SOS member Villareal who had engaged in such misconduct along with

Burzinski, Finnigan and others and (2) third party witnesses who had experienced misconduct at

the hands of Burzinski and McDermott. All of this testimony established that Defendants

Burzinski and McDermott, as well as Suchoki, were a part of the SOS pattern of misconduct, and

therefore was highly probative of the due process, failure to intervene and conspiracy claims.

                        (a)     The Testimony of Former SOS Officer Villareal Regarding
                                The May 17, 2005 Incident Should Have Been Admitted

        Former SOS member Frank Villareal pleaded guilty to an incident on May 17, 2005 that

involved officers Finnigan, Herrera, and Defendant Burzinski. See Docket No. 354, Plaintiff’s

Memorandum and Proffer, Exhibit C (Villareal transcript) at 19 (identifying Finnigan, Herrera

and another SOS officer); Pl’s Trial Exhibits 165-166 (identifying Burzinski). The officers had

taken two men into custody and then illegally entered and searched the residence of one of the

men without legal justification. See Docket No. 354, Exhibit C at 19-21. The officers recovered

drugs and $30,000 in cash from inside the home. Id. at 21. Only $463 of the currency was

inventoried, the remainder was split between the officers. Id. at 21-22. The two men were

arrested and charged with possession of narcotics. Id. at 21.

        The SOS officers intentionally wrote false reports. Id. at 23. The reports falsely stated the

reasons for the stop, including giving a false basis for the traffic stop and falsely reporting that it

related to a burglary investigation. Id. at 23. The reports further falsely stated that one of the men

dropped a bag containing the drugs in the yard (when in fact the bag was not dropped by one of

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the men in the yard but was recovered in the residence). Id. Villareal agreed to give false

testimony during the criminal proceedings in order to conceal the unlawful stop, searches and

searches. Id. at 24. The criminal charges on that case were eventually dismissed by nolle

prosequi. See Pl.’s Trial Ex. No. 166 at G05603.

        Plaintiff’s trial exhibits 165 and 166 demonstrated that Defendant Burzinski was involved

in the search and arrests. Plaintiff’s Trial Exhibit 165 are the police reports listing Burzinski as

both a “reporting officer” and an “arresting officer” along with Officer Finnigan. Furthermore,

when asked at his deposition whether he participated in the May 17, 2005 search and seizure, and

whether he took cash, Defendant Burzinski answered by asserting his Fifth Amendment right to

silence. Exhibit J, dep. at 113-117; see also Exhibit K, proposed stipulation.

        Villareal’s testimony regarding this incident was excluded by the Court pursuant Federal

Rule of Evidence 403 for fear of undue prejudice to the Defendants.2 Plaintiff recognizes that

this Court carefully weighed the probative value of all of the evidence against the risk of

prejudice. Respectfully, however, this ruling went too far in the direction of protecting the

officers from any risk of prejudice at the expense of probative evidence. This evidence was

highly probative of Officer Burzinski’s involvement the SOS pattern of misconduct. In addition

to conducting an illegal stop, search and stealing money, Villareal admits that the officers

falsified police reports and came to an agreement that he would give false testimony at criminal

court proceedings. Docket No. 354, Exhibit C at 19-24. That agreement to give false testimony is

especially relevant here to the conspiracy claim in which Plaintiff had to prove that Burzinski



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          At the time of this filing, Plaintiff has not yet received the portion of the trial transcript in which
the Court first ruled on this motion. Plaintiff will supplement this filing with the relevant transcript upon
receipt. Plaintiff also moved for reconsideration of the ruling mid-trial after several of the other incident
witnesses had been excluded, that motion was also denied. See Ex. G at 13-15.


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agreed with the others to withhold impeachment evidence regarding the officers who testified

against him during the criminal trial.

        For evidence to be excluded under Rule 403, its probative value must be “substantially

outweighed” by the risk of unfair prejudice. Here, this evidence was highly probative direct

evidence of Defendant Burzinksi’s involvement in, and therefore knowledge of, the SOS pattern

of misconduct. The risk of some prejudice to Defendants could not outweigh the crucial

probative value of the evidence. See United States v. Thompson, 359 F.3d 470, 479 (7th Cir.

2004) (in upholding the admission of highly probative and prejudicial evidence: “all probative

evidence is prejudicial to the party against whom it is offered. Rather, the relevant inquiry is

whether there was unfair prejudice.”).

        “Evidence is ‘unfairly prejudicial if it appeals to the jury’s sympathies, arouses its sense

of horror, provokes its instinct to punish, or otherwise may cause a jury to base its decision on

something other than the established propositions in the case.’” United States v. Peters, 791 F.2d

1270, 1294 (7th Cir. 1986) (quoting Carter v. Hewitt, 617 F.2d 961, 972 (3rd Cir. 1980) (internal

citations omitted)). The potential for prejudicial impact must be assessed in light of the other

evidence that was presented to the jury. In this case, the jury heard evidence that these officers,

as well as their supervisors, invoked their Fifth Amendment rights in response to questioning

regarding other incidents of misconduct and widespread misconduct within the SOS unit. The

jury also heard testimony from Assistant State’s Attorneys regarding an investigation into

criminal conduct within the SOS unit3 and accounts of two other incidents of misconduct by SOS

officers from witnesses Kenya Richmond and Anthony Castro. In the context of this evidence

regarding of criminal misconduct by other members of SOS, the excluded evidence of Defendant

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         In addition to Bernard Murray’s testimony regarding the criminal investigation (Ex. H at 4),
defense counsel also informed the jury the of the criminal indictments (discussed further below).


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Burzinski’s involvement in this incident cannot be characterized as “shocking or repulsive, such

as to elicit an emotional response from the jury.” United States v. Adames, 56 F.3d 737, 742 (7th

Cir. 1995) (upholding the trial court's admission of evidence because the evidence was not

“shocking or repulsive, such as to elicit an emotional response from the jury”).

                        (b)      The Testimony of Michael Temple That Defendant Burzinski
                                 Planted A Gun On Him Should Have Been Admitted

        Michael Temple would have testified that on June 12, 2005 he was falsely arrested by

SOS officers including two of those involved in Plaintiff’s arrest, Defendant Burzinski and

witness Jerome Finnigan.4 Ex. B at 127 (proffer of evidence). Mr. Temple would have testified

that Defendant Burzinski planted a gun on him and charged him with a gun crime that he did not

commit. Id.

        Defendant Burzinski was asked questions about the arrest of Michael Temple at his

deposition and to each of those questions Burzinski asserted his Fifth Amendment right to

silence. Exhibit J, dep. at 139-148. Plaintiff sought to read his assertion of the Fifth Amendment

regarding Temple’s arrest at trial, but that testimony was also excluded. The testimony was that

Burzinski had asserted the Fifth regarding (1) “whether he planted a gun that was received from

Special Operations Section Margaret Hopkins on arrestee Ike Hardy [the co-defendant/arrestee

of Michael Temple] during his June 13, 2005 arrest,” and (2) “Whether he made false statements

to the Cook County State’s Attorney’s Office regarding the evidence against arrestees Michael

Temple and Ike Hardy.” See Exhibit K, proposed stipulation.

        In granting the Defendants’ motion to bar Mr. Temple from testifying, the Court noted

that “[i]t was a close call because the allegation involved is precisely the same type of conduct


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           The other officers involved in Temple’s arrest were Hopkins and Villareal, two of the officers
who have pleaded guilty to their crimes as SOS officers. Plaintiff also sought to admit their testimony at
trial (discussed below).

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that’s alleged by the plaintiff in this case.” Ex. C at 231. The Court, however, found that because

Mr. Temple’s arrest was two years after Mr. Thompson’s conviction, it was “too far removed”

from the relevant time frame. Id.5

        Mr. Temple’s arrest, however, was not outside of the relevant timeframe. By June 2005,

Mr. Thompson’s conviction had been reversed; however, Thompson he remained incarcerated

and continued to face the criminal prosecution on the UUW charge. Throughout the judicial

proceedings, which continued until December 2006, the officers were required to disclose any

exculpatory and/or impeachment evidence that could have been utilized by Plaintiff to fight the

UUW charge. Douglas v. Workman, 560 F.3d 1156, 1173 (10th Cir. 2009) (“We emphasize that

the duty to disclose such information continues throughout the judicial process.”). See also

Tennison v. City and County of San Francisco, 570 F.3d 1078 (9th Cir. 2009) (holding that Brady

requires disclosure of exculpatory evidence discovered during post-conviction proceedings);

Leka v. Portuondo, 257 F.3d 89, 100 (2d Cir. 2001) (holding that “Brady requires disclosure of

information that the prosecution acquires during the trial itself, or even afterward”); Smith v.

Roberts, 115 F.3d 818, 820 (10th Cir. 1997) (finding that Brady required the disclosure of

impeachment evidence while case was on appeal”).

        That his arresting officers continued to engage in the pattern of misconduct was highly

important impeachment evidence that Mr. Thompson could have used obtain the dismissal of the

        5
           The Court’s pre-trial ruling also took into consideration that the Court anticipated a much longer
trial with more evidence of other incidents than what was ultimately available. See Ex. C at 231-32. As
the trial unfolded, the evidence became more and more limited (with the resulting trial taking less than
one week). Of the eleven witnesses to other incidents listed by Plaintiff in the pre-trial order, two were
called to testify (Castro and Richmond). Of the remaining nine proposed witnesses, Plaintiff was unable
to serve subpoenas upon two (Fields and Davis) and served but then was unable to locate or secure the
appearance of another (Glover). Four were barred (Vergil, Wisneiewski, Conrad, Temple) and one was
not called by Plaintiff due to questions of credibility. The final witness, Jose Reyes, was flying in to
testify on the Friday of the trial. His testimony related only to Suchocki and not the other two Defendants.
Thus, when the rest of Plaintiff’s evidence was completed on Wednesday, Plaintiff determined it was not
worth it to prolong the trial just to have another Suchocki incident presented.

                                                     12
UUW charge before December 2006. Further, Burzinksi’s ongoing involvement in the pattern of

misconduct was evidence relevant to demonstrating his previously knowledge of and agreement

in the pattern at the time Mr. Thompson’s arrest. See Fed. R. Evid. 401 (“‘Relevant evidence’

means evidence having any tendency to make the existence of any fact that is of consequence to

the determination of the action more probable or less probable than it would be without the

evidence.”).

                       (c)     Testimony from Rafael Vergil About Burzinksi’s and
                               McDermott’s Involvement in Misconduct with Officer
                               Finnigan Should Have Been Admitted

       Rafael Vergil would have testified that on December 8, 2002, Defendants Burzinski and

McDermott, along with three other SOS officers including Finnigan, illegally entered his home.

Ex. B at 111 (proffer). The officers searched the home without consent or legal justification. Id.

The officers subsequently made false statements to the Department’s Office of Professional

Standard to cover their own and each other’s misconduct. Id.; see also Pl.’s Trial Ex. 44 (CR file

containing officers’ statements).

       The Court held that the evidence was not relevant because the conspiracy claimed by

Plaintiff was a conspiracy to violate his due process rights and there was no due process violation

in the Vergil incident. Ex. B at 112. While true that Plaintiff’s constitutional claim at issue is a

due process claim, that should not end the inquiry. The widespread misconduct by the SOS

officers is relevant to both the due process and the conspiracy claim, even where the fact patterns

are not identical. The relevant point is that these officers knew of, and were involved in, the

widespread misconduct within the unit. The fact that the misconduct varied in methodology from

day to day should not make its presence any less salient. If Officers Burzinski and McDermott

knew about SOS misconduct in the form of conducting illegal searches by their teammates and



                                                  13
allowed it to continue, it is likely that they also concurred in other the forms of misconduct that

were occurring during the same period of time by the same group of officers. See Fed. R. Evid.

401 (“‘Relevant evidence’ means evidence having any tendency to make the existence of any

fact that is of consequence to the determination of the action more probable or less probable than

it would be without the evidence.”).

                       (d)     Testimony from Donald Wisneiewski About Burzinksi’s and
                               McDermott’s Involvement in Misconduct with SOS Officers
                               Suchocki, Finnigan, Rice and McGovern Should Have Been
                               Admitted

       Mr. Wisneiewski would have testified that on February 15, 2003 Defendants McDermott,

Burzinski, and Suchocki, along with Finnigan and Rice (both of whom were present for

Plaintiff’s arrest) and former-Officer McGovern6 entered his family’s home without consent or

legal justification. Ex. B at 112 (proffer of testimony). The officers illegally searched the home

for guns. Id. at 113. The officers made an arrest, for which they falsified the reports regarding the

manner in which the guns were located. Id.

       Mr. Wisneiewski’s testimony would have been evidence of the SOS illegal conduct in

their quest to procure as many guns as possible by any means necessary. This testimony should

have been allowed to demonstrate that McDermott and Burzinski knew of and were involved in

the SOS misconduct along with Suchocki and Finnigan. The Court, however, ultimately

excluded the evidence, because it did not involve the fabrication of evidence or a false arrest.




       6
         Former-Officer McGovern has since pleaded guilty to criminal conduct as an SOS officer. His
testimony in his guilty plea was also excluded from evidence, as discussed below.

                                                 14
                 2.      The Exclusion of the Evidence That Would Have Established the
                         Widespread Practices of the SOS Unit Generally

        The testimony of five of the Defendants’ teammates from the Special Operations Section

regarding the widespread misconduct should not have been excluded. This evidence was highly

probative to both the due process and the conspiracy claims. Further, testimony regarding acts of

misconduct by the officers who engaged misconduct along with the Defendants is not unfairly

prejudicial to the Defendants. This evidence is central to the core issues in this case. Any concern

that the jury might blame the Defendants for the misconduct of others is properly resolved by

instructions on the requirement of personal involvement.

                         (a)      The Excluded Evidence of the Testimony of SOS Officers Who
                                  Participated in the Pattern of Misconduct

        Plaintiff sought to introduce the testimony from five of the Defendants’ former

colleagues from the Special Operations Section (officers Hopkins, Maka, Markiewicz, Villareal,

and McGovern) about the pattern of misconduct within the unit. See Docket No. 354, Mem. and

Proffer In Support of Admission Into Evidence The SOS Officers’ Guilty Pleas (henceforth

“Proffer”). The testimony of these officers described nine incidents from 2003 through 2005.

These incidents involved, among other things:

                 (1)     The SOS officers stopped citizens without any lawful basis See Proffer Ex.
                         B, Maka plea at 23, 29 and 35 (describing incidents on 12/3/03, 9/18/04,
                         11/11/04); Proffer Ex. C, Villareal plea at 9-10, 13, 19-20 (describing
                         incidents on 3/28/04, 6/30/04, 5/17/05); Ex. D, McGovern plea at 8-9
                         (describing 12/3/03 incident).7

                 (2)     The SOS officers created false police reports regarding the circumstances
                         of the arrest, the evidence recovered, and/or the basis for the criminal
                         charges. See Proffer Ex. A (Hopkins) at 14-16, 20 (describing incidents
                         on8/12/05 and11/1/05); Proffer Ex. B, Maka plea at 24, 28, 52-54
                         (describing incidents on 12/3/03, 2/14/04, 8/12/05); Proffer Ex. C,


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          For the sake of efficiency, Plaintiff refers to the transcripts previously provided to the Court
with Plaintiff’s Memorandum and Proffer on this issue, Docket No. 354.

                                                      15
                       Villareal plea at 11-12, 18, 23 (describing incidents on 3/28/04, 6/30/04,
                       5/17/05).

               (3)     The SOS officers gave false testimony at criminal proceedings. Proffer Ex.
                       B, Maka plea at 24 (12/3/04 incident); Proffer Ex. B, Markiewicz plea at
                       55-56 (8/12/05 incident); Proffer Ex. C (Villareal) at 23-24 (5/17/05
                       incident).

               (4)     The SOS officers took money recovered for themselves instead of
                       inventorying it. See Proffer Ex. A, Hopkins plea at 16 (8/12/05 incident);
                       Proffer Ex. B, Maka plea at 27, 31-32, 35, 37 (incidents on 2/14/04,
                       9/18/04, 11/11/04); Proffer Ex. C, Villareal plea at 11, 21-22 (incidents on
                       3/28/04 and 5/17/05); Proffer Ex. D, McGovern plea at 9-10 (12/3/03
                       incident).

       The relevance of this testimony is not limited to demonstrating individual instances of the

pattern of misconduct (a significant purpose in itself). It is also powerful evidence of the general

knowledge within the unit of the ongoing misconduct. Indeed, the testimony contains striking

accounts of supervisors receiving portions of the stolen money and assisting the officers in

coordinating their stories to cover-up their misconduct. See Proffer Ex. B, Maka plea at 27-28

(describing 2/14/04 incident, after which sergeant assisted in laundering stolen cash) and 33-35

(describing sharing stolen proceeds with sergeant and sergeant’s role in mediating a dispute

between officers regarding stolen cash); Proffer Ex. A, Hopkins plea at 12-13 (describing

meeting with lieutenant and supervising sergeant in which false statements were planned).

       Furthermore, every one of the nine incidents described in the former officers’ plea

testimony involved SOS officer Jerome Finnigan. It is undisputed that he was also on the scene

of Plaintiff’s arrest. See Pl.’s Trial Ex. 4. Finnigan’s presence is significant because he was the

leader of the SOS pattern of misconduct. See, e.g., Proffer Ex. A, Hopkins plea at 14-16 and Ex.

B, Markiewicz plea at 52-54 (“The officers had a conversation, led by Finnigan, in which they

agreed …”). Finnigan led the officers not just in the course of conduct but in determining how

the reports and evidence would be falsified, including the false testimony given in criminal court

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proceedings by other officers. Id.; see also Proffer Ex. B (Maka) at 24 (describing falsification of

the 12/3/03 police reports at the direction of Officer Finnigan).

       Defendants in this case were involved in two of the described incidents. Officer Suchocki

was one of the five SOS officers involved in the December 3, 2003 incident to which Officer

Maka pleaded guilty. See Plaintiff’s Trial Exhibits. 163 and 164. Officer Burzinski was involved

in the May 17, 2005 incident (along with officers Finnigan, Villareal and Herrera) to which

Officer Villareal pleaded guilty. See Plaintiff’s Trial Exhibits. 165-166.

                       (b)     The Relevance of This Highly Probative Evidence Was Not
                               Outweighed By Its Probative Value

       The testimony of these former-SOS members was highly probative. This is sworn

testimony of the same people with whom the Defendants engaged in the pattern of misconduct

admitting to acts of misconduct as SOS officers. Each of the nine incidents demonstrates the

same pattern of misconduct by SOS officers that was at issue in this case.

       The events described in the officers’ plea testimony and the testimony of Terrance

Thompson demonstrate varying degrees the same pattern. The first step in the SOS pattern was

that the officers would stop citizens without probable cause who they believed may be aware of

drug activity. The second step was that they would use the stop, and the threat of arrest and

criminal charges, to demand information regarding the location of guns or drugs. The third step

would depend on whether or not the person cooperated with the officers’ demands. If that person

was able to provide the information, they would offer leniency. If that person failed to cooperate

(i.e., would/could not give the officers what they wanted) the officers would punish them with




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false arrests and fabricated charges. In this process, the SOS officers often conducted illegal

searches and would steal property (if available).8

        While different incidents vary in methodology and scope depending on the

circumstances, all of these individual incidents are evidence of the widespread pattern of

misconduct in the SOS unit. They are probative of the existence of the “impeachment evidence”

relevant to the due process claim, the officers’ awareness of ongoing misconduct relevant to all

of the claims, and the agreement between the officers relevant to the conspiracy claim.

                         (c)     The Guilty Plea Testimony Regarding Stops of Citizens
                                 Without Probable Cause Are Relevant to Establishing the SOS
                                 Pattern of Misconduct

        In ruling on the admissibility of the testimony, the Court found that the incidents

involving stops without legal justification were not relevant. In doing so, the Court narrowed the

pattern of misconduct evidence too far. Stopping random citizens on the street without proper

legal justification in order to gain knowledge about where guns, drugs and money could be

located was the first step in the SOS pattern. This first step is consistent with how Mr.

Thompson’s encounter with the SOS officers began. Although Mr. Thompson subsequently

admitted that he was in the area to purchase drugs, at the time of the stop all that the officers

knew was that he was walking down a street on which drug dealers were located (and had fled at

their approach).

        What Plaintiff had to demonstrate in this case was not that the SOS officers engaged in

acts of misconduct identical to what Plaintiff experienced, but that the officers engaged in pattern

of misconduct. The initial stops without probable cause were the first step in that pattern. Thus,

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          Consistent with the SOS pattern, Mr. Thompson was stopped without justification (step 1) and
the officers used their ability to arrest and criminally charge him in an effort to force him to provide them
with the information regarding the drug house (step 2). When Mr. Thompson failed to cooperate,
refusing their repeated demands for information, he was charged with a crime that he did not commit
(step 3).

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while the stop itself like the arrest itself was not the basis for Plaintiff’s legal claims, these other

incidents, which the SOS officers have admitted under oath, were nonetheless very much

relevant to the pattern of misconduct at issue.

                        (d)     The Guilty Plea Testimony Regarding Incidents of Stealing
                                Are Relevant to Establishing the SOS Pattern of Misconduct

        Like the illegal seizures, the Court also found that the incidents of stealing were not

relevant. While the illegal seizure was often the first step in the SOS pattern, stealing money was

typically the last. Because Mr. Thompson did not have more than a few dollars on his person,

this step was not a part of his encounter with the SOS. It was nonetheless one part of the same

SOS pattern very much at issue in this case. Furthermore, it is the taking of money which

demonstrates the officers’ motivation in the pattern of misconduct.

                        (e)     The Post-2003 Incidents Are Relevant to Plaintiff’s Due
                                Process and Conspiracy Claims

        In part, the Court found the incidents described by the SOS officers in their guilty pleas

to be less relevant because they occurred after Plaintiff’s criminal trial. All the events described,

however, occurred while the criminal proceedings were ongoing in both the appellate and post-

conviction proceedings. Plaintiff’s criminal conviction was reversed on March 31, 2005 and for

the following year and a half, until December 2006, continued in appellate and post-conviction

proceedings.

        The evidence demonstrating the continuing pattern of misconduct through 2004 and 2005

is relevant for two purposes. First, the subsequent events are relevant to demonstrate the earlier

existence of pattern. Bordanaro v. McLeod, 871 F.2d 1151, 1166-67 (1st Cir.), cert. denied, 493

U.S. 820, 110 S.Ct. 75 (1989) (post-incident conduct may be relevant to establishing a

“preexisting disposition”); Grandstaff v. City of Borger, 767 F.2d 161, 171 (5th Cir. 1985), cert.



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denied, 480 U.S. 916, 107 S.Ct. 1369 (1987) (subsequent action relevant to demonstrate that “the

way things were done and have been done in the City.”).

       Second, the ongoing pattern of misconduct was additional impeachment evidence that the

officers were required to disclose. Consistent with Brady, the Seventh Circuit has held that the

duty to disclose exculpatory evidence which is known at the time of the trial continues

throughout any appeal and post-conviction proceedings. Steidl v. Fermon, 494 F.3d 623 (7th Cir.

2007). Likewise, the Brady duty extends to exculpatory evidence that is discovered post-trial,

but while the criminal proceedings are ongoing. See Tennison v. City and County of San

Francisco, 570 F.3d 1078 (9th Cir. 2009); Leka v. Portuondo, 257 F.3d 89, 100 (2nd Cir. 2001);

Smith v. Roberts, 115 F.3d 818, 820 (10th Cir. 1997). See also Douglas v. Workman, 560 F.3d

1156, 1173 (10th Cir. 2009) (“We emphasize that the duty to disclose such information continues

throughout the judicial process.”).

       In Tennison, the defendants received a taped confession by another man confessing to the

crime of which Mr. Tennison had been convicted. Tennison, 570 F.3d at 1093. The defendants in

that case argued that the evidence was immaterial because it came post-conviction. The Ninth

Circuit, however, rejected that argument. Id. “The fact that the Inspectors received the tape of the

confession after the guilty verdict was rendered is immaterial because the record discloses that

they received the tape while they were still involved in the new trial and post-conviction

proceedings.” Id. citing Broam v. Bogan, 320 F.3d 1023, 1030 (9th Cir. 2003) (“A prosecutor's

decision not to preserve or turn over exculpatory material before trial, during trial, or after

conviction is a violation of due process under [ Brady ].”); Leka, 257 F.3d at 100 (stating that

“Brady requires disclosure of information that the prosecution acquires during the trial itself, or




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even afterward”); Smith, 115 F.3d at 820 (finding that Brady required the disclosure of

impeachment evidence while case was on appeal”).

       In this case, from the time of Plaintiff’s arrest in September 2002 through the appeal and

post-conviction proceedings, the SOS pattern of misconduct and corruption continued and the

Defendants learned of more and more impeachment evidence, including Burzinski and

Finnigan’s May 17, 2005 incident and Suchocki and Finnigan’s December 3, 2003 incident.

Throughout the appeal and post-conviction proceedings, the Defendants were bound by Brady to

disclose both the impeachment evidence that they knew at the time of the conviction and the

closely related “new” evidence that increased everyday as their pattern of misconduct and

corruption continued. All of this evidence could be used by Plaintiff at any time prior to

December 5, 2006 to fight the ongoing criminal case and secure an earlier release.

       C.      DEFENSE COUNSEL’S IMPROPER QUESTIONING AND ARGUMENT
               SUBSTANTIALLY AND DETRIMENTALLY AFFECTED THE
               OUTCOME OF PLAINTIFF’S MALICIOUS PROSECUTION CLAIM

       The Defendants ignored this Court’s rulings in limine and on trial objections in order to

use improper questioning and arguments to suggest to the jury that Defendants’ assertions of the

Fifth Amendment were meaningless and completely unconnected to Mr. Thompson’s case. That

argument was incorrect and improper, it was further prejudicial because at that stage Plaintiff

had no means to rebut it as the underlying evidence had been excluded – on the grounds that

neither it nor the argument ultimately made by the Defendants was proper.

       Although this Court had barred any reference to the indictments of the SOS officers,

including Suchocki, Defendants themselves elicited testimony regarding the indictments. Once

reference was made to the indictments, it had been heard by the jury and could not be taken back.

Defense counsel then used the unexplained indictments, along with improper argument, to



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mislead the jury to believe that the Defendants’ assertions of the Fifth Amendment and the

State’s Attorney’s dismissal of the criminal charges against Terrance Thompson had nothing to

do with Mr. Thompson’s case. Taken together, Defendants’ (1) improper questioning regarding

the indictments, (2) improper questioning of former ASA Chief of Felony Prosectuions Murray

regarding indicative of innocence, and (3) improper argument at closing, resulted in an outcome

that was inconsistent with substantial justice. See Adams Lab., Inc. v. Jacobs Engineering Co.,

Inc., 761 F.2d 1218, 1227 (7th Cir. 1985) (granting new trial where “cumulative effect” of

improper occurrences “viewed in the context of the entire trial unduly prejudiced” party); Long

v. Cottrell, Inc., 265 F.3d 663, 667 (8th Cir. 2001) (“Improper questions that place prejudicial

information before the jury may entitle the aggrieved party to a new trial.”); Fineman v.

Armstrong World Industries, Inc., 980 F.2d 171, 210 (3d Cir. 1992) (“argument injecting

prejudicial extraneous evidence constitutes reversible error”).

                1.      THE REFERENCE TO THE UNEXPLAINED INDICTMENTS

                        (a)     The Court’s Rulings on the Indictments

        The Court first addressed the admissibility of the indictments on Defendants’ motion in

limine, which argued that the indictments were unfairly prejudicial. See Docket No. 263.9 The

Court held that the Suchocki’s indictment could come in but only as “needed to explain why and

how the case against [Thompson] was dismissed.” Ex. A, 10/28/09 at 57-58. The motion to bar

was granted to as to the other indictments. Id. at 58.

        On October 29, 2009, during the pre-trial conference, the issue of Suchocki’s indictments

came up again. The Court made clear that the issue of indictments needed to be fully addressed

so that nothing would improperly come up with the jury. See Ex. B at 222. The Court again

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         In argument on that motion, Defendants changed their position and argued that Suchocki’s
indictment should come in on the malicious prosecution claim to explain why the criminal charges against
Mr. Thompson was dismissed.

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explained that the indictments were not relevant for any purpose except potentially as necessary

to explain the dismissal of the criminal charges against Thompson. Id. at 222-223. The Court

also noted that even that limited purpose may not be necessary. Id. at 223. Defendants, however,

argued that Suchocki’s indictment was relevant and that they also should be allowed to be

present evidence that the indictment was dismissed. Id. at 222-23. Defendants argued that the

indictments were highly prejudicial, and yet it was Defendants who wanted to introduce the

indictments. See, e.g., id. at 225-226.

       The Court ruled that if the State’s Attorneys could adequately testify about the reasons

why the case against Thompson was dismissed without mentioning the indictments (by, for

example, explaining it in terms of the lack of credibility of the officers), then there should be no

mention of any of the indictments. Id. at 226-227. Thus, the multiple evidentiary disputes that

came hand in hand with the indictments (including the admissibility of the charges contained in

the indictments and the dismissal of the indictments) would be thereby be resolved without any

risk of prejudice to either party. Id. The Court then instructed the parties that if that could not

happen – if the State’s Attorneys could not adequately discuss the dismissal of the Thompson

criminal charges without mentioning the indictments – then the Court and the parties would have

to address the other evidentiary questions. Id. at 227. The Court’s ruling on the indictment was

explained again the following day, on October 30, 2009. See Ex. C at 303-305.

       The admissibility of the indictments arose at trial for the first time during the testimony

of Assistant State’s Attorney Kurt Smitko. Mr. Smitko testified that about the newly discovery

impeachment evidence. Ex. F at 15. Defense counsel argued that this reference opened the door

to the fact that the indictment against Suchocki had been dismissed. Id. The Court rejected that

argument. Id. at 15, 29-33. During this hearing, the defense counsel admitted that they wanted



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the indictments to come in, although they also argued that evidence relating to the indictments

was highly prejudicial. Id. at 33.

                          (b)    Defendants’ Violation of the Court’s Ruling

        The Court had explained the ruling on the indictments – a ruling that resolved multiple

other complicated evidentiary disputes – at length on October 29th, October 30th and November

3rd. Despite those careful rulings, in questioning former chief of the criminal prosecutions bureau

of the Cook County State’s Attorney’s Office, defense counsel asked, “Was Timothy McDermott

one of the indicted officers?” Ex. H, 11/5/09 transcript at 4. Plaintiff’s objection was sustained

and the jury was instructed to disregard both the question and the answer. Defense counsel,

however, then followed up by asking yet another improper question, “Was Carl Suchocki one of

the indicted officers?” Id. Plaintiff again objected and a lengthy side bar argument was

followed.10 Id. 4-21. The objection was sustained during the sidebar, outside of the jury’s

presence. Id. at 22-23.

                2.        DEFENDANTS’ IMPROPER QUESTIONING AND ARGUMENT
                          REGARDING “INDICATIVE OF INNOCENCE”

        As with the questioning about the indictments, defense counsel asked multiple improper

questions. These questions, in combination with counsel’s argument strongly suggested that the

State’s Attorney’s decision had nothing to do with the merits of the case against Mr. Thomspon.

Ex. H at 23.

                Q.        When Mr. Thompson's criminal case was vacated and dismissed on
                          December 6th -- 5th, 2006, pursuant to a 2-1401 motion, was that
                          indicative of Mr. Thompson's innocence –


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           At sidebar, defense counsel claimed to have understood the Court’s ruling barring reference to
the indictment to be based upon a lack of foundation. See Ex. H at 4-5, 8-9. Nowhere in the pages and
pages of discussion and argument regarding the indictment is the question of foundation even raised. See
Ex. A at 54-58, Ex. B at 222-227, and Ex. C at 303-305.


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                  MR. CERDA: Objection.

                  BY MS. YANOW:
                  Q.   -- that 2-1401 petition?

                  THE COURT: Sustained.

                  BY MS. YANOW:
                  Q.   If Mr. Kurt Smitko did not oppose the 2-1401 petition on
                       your direction, was that because the state's attorney's office
                       believed that Mr. Thompson was innocent of the charges against him?

                  MR. CERDA: Objection, your Honor, foundation.

                  THE COURT: Sustained.

Ex. H at 23-24.

       In closing arguments, defense counsel told the jury to disregard the Court’s ruling on the

objection. Counsel stated, “You heard Mr. Murray testify that that dismissal was not indicative

of innocence.” Ex. I 11/5/09 Closing at 19.11 This argument was highly improper. Mr. Murray

did not give any such testimony. Counsel’s arguments contradicting both the evidence in the case

and the Court’s ruling, thus urging the jury to do the same, were improper and require a new trial

on the malicious prosecution claim. United States v. Van Eyl, 468 F.3d 428, 436-38 (7th Cir.

2006) (upholding granting of new trial where prosecutor made an improper, and persuasive,

argument which could have affected the verdict); Cotter v. McKinney, 309 F.2d 447, 552 (7th Cir.

1962) (upholding granting of new trial where attorney improperly argued inadmissible

evidence—suggesting insurance coverage—at closing).




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            The Court overruled Plaintiff’s objection. Id.

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                3.      Defendants’ Improper Questioning Allowed Them To Make The
                        Misleading Argument Suggesting That The Officers’ Assertions of
                        The 5th Amendment and The Dismissal of the Criminal Charges
                        Against Plaintiff Had Nothing To Do With Mr. Thompson

        The significance of the Defendants’ improper questioning and argument regarding

indicative of innocence must be viewed in conjunction with the improper introduction of the

unexplained indictments and Defendants’ closing argument. The court should consider the

cumulative impact of these trial errors and misstatements to determine that they were in fact

prejudicial. Hillard v. Hargraves, 197 F.R.D. 358, 361 (N.D. Ill. 2000) (citing Llaguno v.

Mingey, 763 F.2d 1560 (7th Cir. 1985) (plaintiffs in civil rights case entitled to new trial because

of cumulatively serious trial errors); United States v. Williams, 81 F.3d 1434, 1443-44 (7th Cir.

1996) (total impact of all irregularities at trial, not each one examined in isolation, determines

whether a defendant is entitled to a new trial). Defendants injected error into the trial by

introducing evidence of the unexplained indictment against Suchocki and incorrectly inferring

the indictment had no bearing on the dismissal of Terrance Thompson’s criminal case.

        As this Court recognized throughout the proceedings, any reference to the indictments

brought on a host of complicated evidentiary disputes. The indictments themselves had no

probative value to the issues in this case unless they were necessary to explain the reasons for the

December 5, 2006 dismissal of the criminal charges against Mr. Thompson.12 If that occurred (if

the State’s Attorneys testified that the case was dismissed because Suchocki was under

indictment) then the jury would have needed to know what the indictments were about in order

to assess whether or not the criminal charges were dismissed in a manner that was indicative of

Plaintiff’s innocence. See Ex. H at 12-16.


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          Ultimately, reference to the indictments was not necessary for that purpose. The dismissal was
easily explained in terms of the investigation into complaints of misconduct by the SOS officers and that
Mr. Suchocki was no longer a credible witness due to the allegations under investigation.

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       Defendants essentially circumvented the evidentiary issue to make full use of the

indictments in a manner that was favorable to them without bringing in the evidence that would

have rebutted their argument. Thus, Defendants were able to achieve their original goal, to use

the unexplained indictments in order to argue that Mr. Thompson case was only dismissed

because Suchocki happened to be indicted at the time for reasons completely unrelated to

Mr. Thompson’s criminal case (and, of course, was no longer under indictment). See, e.g., Ex. H

at 17-18. Had Defendants done this properly by admitting evidence (instead of making

suggestive arguments based upon improper questioning) then the full story of the indictments

(the nature of the indictments and the reasons why the Defendants continue to assert the Fifth

Amendment) would have become admissible. Plaintiff would have sought to use this evidence to

rebut Defendants’ argument by establishing that the indictments discredited Suchocki’s

testimony in the Thompson case in particular (and not because there just happened to be some

unrelated indictment). The crimes charged were the same as the pattern of misconduct to which

Mr. Thompson – like Mr. Castro and Mr. Richmond and countless others – were subjected. In

other words, although Suchocki was not indicted for his actions towards Mr. Thompson, the

indictments were very much related to the pattern of SOS misconduct to which Mr. Thompson

was subjected. Thus, the dismissal of the criminal charges because Officer Suchocki had been

indicted was indicative of Mr. Thompson’s innocence.

       That would have prolonged the case significantly and brought in all kinds of additional

evidentiary disputes regarding the prejudicial nature of the evidence and the competence of

certain testimony from the State’s Attorneys involved in the cases. The substance of the

indictments was prejudicial to Defendants due to the nature and seriousness of the allegations.

The indictments included dozens of allegations including kidnapping, burglary, robbery,



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unlawful restraint, obstruction of justice, official misconduct and possession and

manufacturing/delivery of a controlled substance. See Defs.’ Trial Exhibits. 105-107.

       The Court’s careful ruling resolved all of these issues. Defendants were not allowed to

suggest that the dismissal of Suchocki’s indictment cleared his name of all wrongdoing, as

Plaintiff had feared. Plaintiff, on the other hand, was not allowed to bring in the numerous

criminal charges against Suchocki, as Defendants had feared.

       Defendants, however, effectively sidestepped the Court’s ruling. Defendants introduced

an unexplained indictment, which allowed them to make the powerful argument in closing that

some SOS officers got in trouble, but that it had nothing to do with Mr. Thompson, who lucked

into being able to take advantage of the situation. See, e.g. Ex. I (transcript of Defs’ closing) at

23 (“Circumstances allowed him to have his conviction dismissed after he spent three years in

jail on an eight-year sentence. That should be reward enough.”); 6, 8, 9, and 11 (all stating “this

is not guilt by association”). They then reinforced this argument by citing to non-existent

evidence (that Bernard Murry said that the dismissal was not indicative of innocence). Id. at 19.

Of course, at that point because Plaintiff was not allowed to introduce the indictments into

evidence, plaintiff was not able to argue in rebuttal that although Suchocki was not indicted for

his actions towards Mr. Thompson, the indictments were very much related to the pattern of SOS

misconduct to which Mr. Thompson was subjected

        Without again having to mention of the word “indictment,” the theme of the entire

closing argument was that for reasons completely unrelated to this case, some SOS officers

(including Suchocki, but not McDermott or Burzinski) had been in trouble and now these

officers have to assert the Fifth, but the jury should not take that mean anything. See, e.g. Ex. I at

3-4 (because they acted “on the advice of counsel to not testify to the specific facts in this case;



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and, unfortunately, we are unable to hear their testimony concerning Mr. Thompson’s arrest…”);

4 (“The Fifth Amendment is asserting a privilege…It isn’t an admission …it’s not evidence”), 18

(same).13 Defense counsel argued to the jury that the assertion of the Fifth Amendment was

meaningless. Id.

        The argument was contrary to the law, unfair and improper. The jury was never given the

evidence necessary to assess this suggestion criminal charges against Suchocki did not discredit

his testimony against Mr. Thompson. Furthermore, it also gave the very improper and misleading

suggestion that the Defendants’ assertion of the Fifth Amendment regarding the Thompson case

and their involvement in the SOS pattern of misconduct (see Ex. D) were meaningless. The Fifth

Amendment, however, may not be raised unless there is a good faith basis for doing so. An

attorney’s argument otherwise is extremely improper. United States v. Apfelbaum, 445 U.S. 115,

128 (1980) (“The person invoking the privilege must have some objectively reasonable cause to

perceive some real danger of prosecution that would result if she answers the question asked of

her. This perception must be real and not imaginary or fanciful.”); Martin-Trigona v. Gouleta,

634 F.2d 354, 360 (7th Cir. 1980) (“the pendency of criminal proceedings does not by itself

excuse a witness of his obligation to give testimony in civil proceedings. Some nexus between

the risk of criminal conviction and the information requested must exist.”); In Re High Fructose

Corn Syrup Antitrust Litigation, 295 F.3d 651, 663-664 (7th Cir. 2003).

        V.      The Admission of Plaintiff’s 11 Alias Names Was Unfairly Prejudicial and
                Should Not Have Been Allowed

        The Court denied Plaintiff’s motion in limine to bar reference to Mr. Thompson’s use of

alias names. Ex. A at 34-39. Not only were the Defendants allowed to bring in that Mr.

Thompson gave the Defendants an alias name during the arrest at issue in this case, but also ten
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             Defense counsel also improperly told the jury that Mr. Thompson had invoked his right to not
testify at the criminal trial. Ex. I at 4.

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other aliases used during other arrests. Allowing this evidence effectively circumvented the

Court’s ruling barring any reference to Plaintiff’s prior arrests. See Ex. A at 28 (barring reference

to prior arrests).

        Although the questions did not specifically reference arrests, that fact was patently

obvious from the questioning regarding the different names, different spellings of his names, and

different dates of birth used on “many important occasions in [his] life.” See Ex. E at 26. For

each and every alias name and wrong date of birth used, counsel asked on cross examination

whether it was used “during an important event in your life.” See Ex. E at 27-30. Further, that the

names were used during other arrests was obvious from the fact that one of the names was that

used during the arrest at issue in this case (id. at 30), as well as from the fact that Mr. Thompson

was a drug user (id. at 25) with a felony conviction (id. at 31) who had spent six years in prison

before (id. at 23) and had run from the police on other occasions (id. at 43), all of which came

into evidence over Plaintiff’s strenuous objections.14

        The Court allowed this testimony pursuant to Rule 608(b) as specific instances of

conduct demonstrating character for truthfulness. See Ex. A at 36-37. Even specific instances of

untruthfulness, however, are subject to the Rule 403. Here the probative value of the alias names

(and, certainly of all of the alias names as opposed to limiting the evidence to that used during

events in September 2002) was heavily outweighed by the enormous prejudicial effect to

Plaintiff. See United States. v. Toma, 1995 WL 65031, at *4 (N.D. Ill. Feb. 13, 1995) (excluding

alias names as “such evidence is not admissible simply to create the impression that the

defendant is unsavory or a criminal”). See also United States v. Finley, 708 F.Supp. 906, 911 n.3


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           Plaintiff had filed motions in limine on all of these subject matters and they were all denied.
See Ex. A, transcript of hearing. During Mr. Thompson’s testimony Plaintiff fronted many of these issues
in order to try to at least somewhat minimize their prejudicial effect, but Plaintiff did so subject to the
objections and the Court’s overruling of those objections.

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(N.D. Ill. 1989) (upholding government's objection to impeaching government witness solely on

the basis that he used an alias).

        The recitation of the alias names was effectively a recitation of Plaintiff’s criminal

record, but leaving the jury free to speculate as to the crimes charged. This evidence alone was

so highly prejudicial that it was unlikely for Plaintiff to receive any fair assessment of whether or

not the officers pursued the charges against him without probable cause. As the Third Circuit has

explained:

        A classic example of unfair prejudice is a jury's conclusion, after hearing a recitation of a
        defendant's prior criminal record, that, since the defendant committed so many other
        crimes, he must have committed this one too. This is an improper basis of decision, and
        the law accordingly prohibits introduction of prior convictions to demonstrate a
        propensity to commit crime. F.R.E. 404.

Carter v. Hewitt, 617 F.2d 961, 972 (3rd Cir. 1980); See also Anderson v. Sternes, 243 F.3d 1049,

1054 (7th Cir. 2001) (“The law is clear that a defendant's prior arrest record is inadmissible, and

while the reference to Anderson's past arrest was only indirect, it was still improper”).

        The unfair prejudice of this evidence vastly outweighed its probative value. At the most,

this evidence should have been limited to the one alias used on the date of the arrest. Allowing

the litany of alias names and dates of birth, spanning four pages of the trial transcript, was far to

prejudicial, especially in a case involving the question of whether Defendant police officers acted

in accordance with the constitutional protections in arresting and criminally charging Mr.

Thompson. See Geitz v. Lindsey, 893 F.2d 148, 151 (7th Cir. 1990) (“We are mindful of our duty

to ensure that this class of civil rights plaintiffs are not unfairly prejudiced by the use of their

criminal pasts against them”).




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                                            Conclusion

       Far from the kind of blanket rulings that are more typically the basis of Rule 59 motions

regarding evidentiary rulings, this Court fastidiously assessed each of the many evidentiary

disputes raised by the parties. In four days of pre-trial conference, as well as many more hours

before, after, and during in each of the four trial days, the Court weighed the probative value of

each piece of disputed evidence against its potential for prejudice and delay. In these meticulous

assessments, however, too much consideration was given to any risk of prejudice to the

Defendants at the expense of highly probative evidence necessary to Plaintiff’s claims.

       Instead of following the careful evidentiary rulings, defense counsel used improper

questioning of witnesses to make a highly improper and suggestive argument to the jury. That

improper argument, in combination with evidentiary rulings that ultimately excluded all of the

substantive evidence against Defendants McDermott and Burzinski, detrimentally affected the

trial of Plaintiff’s claims against these two defendants. The result was that the jury was left with

only one reasonable—but mistaken—impression: that Defendant Suchocki was the “bad apple.”

The suggestion was that as a result of Suchocki’s (and, perhaps Finnigan’s) unrelated misconduct

the other officers were forced to assert their Fifth Amendment rights, but those assertions were

meaningless. This argument was highly improper and severely prejudicial to Plaintiff.

       WHERERFORE Plaintiff respectfully requests that this Honorable Court enter an order

pursuant to Federal Rule of Civil Procedure 59 for a new trial on the due process, conspiracy and

failure to intervene claims against Defendants McDermott and Burzinski and on the malicious

prosecution claim against all Defendants and that evidence of plaintiff’s alias names be excluded

from the new trial




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                                 RESPECTFULLY SUBMITTED,



                                        /s/ Amanda Antholt
                                 One of the Attorneys for Plaintiff


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